      Case 2:20-cv-02367-JWB Document 189-1 Filed 04/29/22 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS



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                         Plaintiff(s),        )
                                              )
              vs.                             )      Case No.   -;LO - ~   > ~ 7-   :50(/
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                         Defendant( s).       )
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                                QUESTION FROM THE JURY

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ANSWER OF THE JUDGE,

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        Case 2:20-cv-02367-JWB Document 189-1 Filed 04/29/22 Page 2 of 2




Instructions 17 & 18 authorize you to award such amount of damages as you find Lenexa 95 has
proven. You may award an amount less than Lenexa 95 has requested as long as the evidence
provides some basis for you to determine the proper amount of damages such that you do not
violate the prohibition against an award based on speculation, guesswork, or conjecture.
